               SIXTH DISTRICT COURT OF APPEAL
                      STATE OF FLORIDA
                     _____________________________

                          Case No. 6D2023-1985
                   Lower Tribunal No. 2021 CA 004412-O
                     _____________________________

                           ROBERT B. REESE, JR.,

                                 Appellant,

                                     v.

       US BANK TRUST NATIONAL ASSOCIATION as Trustee of the CABANA
                           SERIES IV TRUST,
                                 Appellee.

                     _____________________________

              Appeal from the Circuit Court for Orange County.
                           A. James Craner, Judge.

                              August 27, 2024

PER CURIAM.

     AFFIRMED.

NARDELLA and MIZE, JJ., and LAMBERT, B.D., Associate Judge, concur.


Robert A. DuChemin, Sr., of DuChemin Law &amp; Mediation, Winter Park, for
Appellant.

Evan R. Raymond, of Howard Law Group, Boca Raton, for Appellee.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
          AND DISPOSITION THEREOF IF TIMELY FILED
